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 8                                IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      CASE NO. 1:12-CR-0040-LJO
12                                   Plaintiff,     FINAL ORDER OF FORFEITURE
13                            v.
14   CHRISTIAN BARRON RUEDA,

15                                 Defendant.
16

17          WHEREAS, on May 16, 2013, this Court entered a Preliminary Order of Forfeiture
18 pursuant to the provisions of 21U.S.C. § 853, based upon the plea agreement entered into

19 between plaintiff and defendant Christian Barron Rueda forfeiting to the United States

20 the following property:

21                   a)      Approximately $42,628.56 in U.S. Currency
22          AND WHEREAS, beginning September 7, 2013, for at least 30 consecutive days, the
23 United States published notice of the Court’s Order of Forfeiture on the official internet

24 government forfeiture site www.forfeiture.gov. Said published notice advised all third

25 parties of their right to petition the Court within sixty (60) days from the first day of

26 publication of the notice for a hearing to adjudicate the validity of their alleged legal
27 interest in the forfeited property;

28          AND WHEREAS, the Court has been advised that no third party has filed a claim

      Final Order of Forfeiture                     1
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 1 to the subject property and the time for any person or entity to file a claim has expired.

 2          Accordingly, it is hereby ORDERED and ADJUDGED:
 3          1. A Final Order of Forfeiture shall be entered forfeiting to the United States of
 4 America a1l right, title, and interest in the above-listed property pursuant to 21 U.S.C. §

 5 853 and Fed. R. Crim. P. 32.2(b)(1), to be disposed of according to law, including all right,

 6 title, and interest of Christian Barron Rueda.

 7          2. All right, title, and interest in the above-listed property shall vest solely in the
 8 name of the United States of America.
 9          3. The United States Marshals Service shall maintain custody of and control over
10 the subject property until it is disposed of according to law.

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12 IT IS SO ORDERED.

13      Dated:      March 17, 2014                      /s/ Lawrence J. O’Neill
14                                                UNITED STATES DISTRICT JUDGE

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      Final Order of Forfeiture                     2
